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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF LOUISIANA
                               MONROE DIVISION

  PHILLIP CALLAIS, ET AL                      CIVIL DOCKET NO. 3:24-CV-00122
                                              DCJ-CES-RRS

  VERSUS                                      THREE-JUDGE COURT

  NANCY LANDRY, in her official
  capacity as Louisiana Secretary of
  State


                                         ORDER

        The Court sua sponte reconsiders its ORDER [Doc. 79] denying the MOTION TO

  INTERVENE (the “Motion”) [Doc. 10] filed by Edward Galmon, Sr., Ciara Hart, Norris

  Henderson, and Tramelle Howard (collectively, the “Galmon Movants”), and now

  grants the Galmon Movants’ Motion under Federal Rule of Civil Procedure 24(b) for

  the purpose of participating in the remedial phase of this trial only.

        Accordingly,

        IT IS HEREBY ORDERED THAT the Galmon Movants’ MOTION TO INTERVENE

  [Doc. 10] is GRANTED as limited to the remedial phase of this trial.

        THUS, DONE AND SIGNED in Chambers on this 3rd day of May 2024.




                                             DAVID C. JOSEPH
                                             UNITED STATES DISTRICT JUDGE
